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 11
 12
                           UNITED STATES DISTRICT COURT
 13
                          CENTRAL DISTRICT OF CALIFORNIA
 14
 15
        LOUIS A. COFFELT, JR.,                 Case No.: 8:19-cv-01351-JVS-DFM
 16
                          Plaintiff,           REQUEST FOR JUDICIAL
 17                                            NOTICE IN SUPPORT OF
                v.                             DEFENDANTS ANDREW
 18                                            ANAGNOST, PASCAL W. DI
                                               FRONZO, AND AUTODESK,
 19                                            INC.’S NOTICE OF MOTION
        ANDREW ANAGNOST, PASCAL W.             AND MOTION TO DISMISS
 20     DI FRONZO, AUTODESK, INC.,             PLAINTIFF LOUIS A. COFFELT,
        SONY PICTURES IMAGEWORKS,              JR.’S COMPLAINT
 21
        SONY CORPORATION OF                    Date: October 21, 2019
 22     AMERICA, LARRY GRITZ,                  Time: 1:30 p.m.
                                               Courtroom: Santa Ana, 10C
 23                       Defendants.
                                               Hon. James V. Selna
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   1          Defendants Autodesk, Inc., Andrew Anagnost, and Pascal W. Di Fronzo
   2   (collectively, “Autodesk”) request that the Court take judicial notice of the
   3   documents attached as Exhibits 1 through 35 pursuant to Rule 201 of the Federal
   4   Rules of Evidence and the authorities cited below.
   5   I.     BASIS FOR REQUESTING JUDICIAL NOTICE
   6          A.    Court Orders and Filings
   7          Autodesk requests judicial notice of the following court records:
   8          1.    Exhibit 1 is the Complaint Mr. Coffelt filed against California
   9                Department of Corrections on January 18, 2012 in Coffelt v. California
 10                 Department of Corrections, No. 5:12-cv-37-RGK-MRW, ECF No. 3,
 11                 in the United States District Court for the Central District of
 12                 California.
 13           2.    Exhibit 2 is the First Amended Complaint Mr. Coffelt filed against
 14                 individual defendants J. Clark and T. Baker on February 6, 2012 in
 15                 Coffelt v. California Department of Corrections, No. 5:12-cv-37-RGK-
 16                 MRW, ECF No. 9, in the United States District Court for the Central
 17                 District of California.
 18           3.    Exhibit 3 is the Second Amended Complaint Mr. Coffelt filed against
 19                 individual defendants J. Clark and T. Baker on February 15, 2012 in
 20                 Coffelt v. California Department of Corrections, No. 5:12-37-RGK-
 21                 MRW, ECF No. 12, in the United States District Court for the Central
 22                 District of California.
 23           4.    Exhibit 4 is the Report and Recommendation of United States
 24                 Magistrate Judge issued by the Hon. Michael R. Wilner on October 2,
 25                 2012 in Coffelt v. Cal. Dep’t of Corrections, No. 5:12-cv-37-RGK-
 26                 MRW, ECF No. 51, in the United States District Court for the Central
 27                 District of California.
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   1          5.    Exhibit 5 is the Order Accepting the Findings and Recommendations
   2                of United States Magistrate Judge issued by the Hon. R. Gary Klausner
   3                on November 15, 2012 in Coffelt v. Cal. Dep’t of Corrections, No. 5:12-
   4                cv-37-RGK-MRW, ECF No. 53, in the United States District Court for
   5                the Central District of California.
   6          6.    Exhibit 6 is the Complaint Mr. Coffelt filed against T. Baker on April 3,
   7                2013 in Coffelt v. Baker, No. 5:13-cv-568-RGK-AS, ECF No. 3, in the
   8                United States District Court for the Central District of California.
   9          7.    Exhibit 7 is the Report and Recommendation of a United States
 10                 Magistrate Judge issued by the Hon. Alka Sagar on October 9, 2013 in
 11                 Coffelt v. Baker, No. 5:13-cv-568-RGK-AS, ECF No. 26, in the United
 12                 States District Court for the Central District of California.
 13           8.    Exhibit 8 is the Order Accepting Findings, Conclusions and
 14                 Recommendations of United States Magistrate Judge issued by the
 15                 Hon. R. Gary Klausner on November 7, 2013 in Coffelt v. Baker,
 16                 No. 5:13-cv-568-RGK-AS, ECF No. 27, in the United States District
 17                 Court for the Central District of California.
 18           9.    Exhibit 9 is the Complaint Mr. Coffelt filed against the California
 19                 Department of Corrections and Rehabilitation and Keith Stanton on
 20                 May 28, 2013 in Coffelt v. California Department of Corrections and
 21                 Rehabilitation, et al., No. 5:13-cv-902-RGK-MRW, ECF No. 3, in the
 22                 United States District Court for the Central District of California.
 23           10.   Exhibit 10 is the Order to Show Cause re: Dismissal of Complaint
 24                 issued by the Hon. Michael R. Wilner on May 31, 2013 in Coffelt v. Cal.
 25                 Dep’t of Correction & Rehabilitation, et al., No. 5:13-cv-902-RGK-
 26                 MRW, ECF No. 6, in the United States District Court for the Central
 27                 District of California.
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   1          11.   Exhibits 11 and 12 are the Complaint (Parts 1 and 2) Mr. Coffelt filed
   2                against Autodesk and other defendants NVIDIA and Pixar on March 14,
   3                2016 in Coffelt v. Nvidia, No. CV 16-457 SJO (KKx), ECF Nos. 1 &
   4                1-1, in the United States District Court for the Central District of
   5                California.
   6          12.   Exhibit 13 is the Order Granting Defendants’ Motion to Dismiss
   7                Pursuant to Fed. R. Civ. P. 12(b)(6) for Lack of Patentable Subject
   8                Matter Under 35 U.S.C. § 101 issued by the Hon. S. James Otero in
   9                Coffelt v. Nvidia, No. CV 16-457 SJO (KKx), 2016 U.S. Dist. LEXIS
 10                 185157 (C.D. Cal. June 21, 2016).
 11           13.   Exhibit 14 is the United States Court of Appeals for the Federal
 12                 Circuit’s decision affirming the Judge Otero’s Order Granting
 13                 Defendants’ Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) for
 14                 Lack of Patentable Subject Matter Under 35 U.S.C. § 101, Coffelt v.
 15                 Nvidia, No. 17-1119, ECF No. 35-1, dated March 15, 2017.
 16           14.   Exhibit 15 is the Order by the Supreme Court of the United States
 17                 denying Mr. Coffelt’s writ of certiorari, Coffelt v. NVIDIA Corp., 137 S.
 18                 Ct. 2143 (2017), dated May 17, 2017.
 19           15.   Exhibits 16, 17, and 18 are Mr. Coffelt’s Complaint (Parts 1-3) against
 20                 Autodesk alleging copyright infringement, filed on August 21, 2017 in
 21                 Coffelt v. Autodesk, No. 5:17-cv-1684-FMO, ECF Nos. 1, 1-1, 1-2, &
 22                 1-3, in the United States District Court for the Central District of
 23                 California.
 24           16.   Exhibit 19 is the Order granting Autodesk’s Motion to Dismiss issued
 25                 by the Hon. Fernando M. Olguin on November 21, 2017 in Coffelt v.
 26                 Autodesk, No. 5:17-cv-1684-FMO, ECF No. 29, in the United States
 27                 District Court for the Central District of California.
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   1          17.   Exhibit 20 is Mr. Coffelt’s First Amended Complaint against Autodesk
   2                alleging copyright infringement, filed on November 30, 2017 in
   3                Coffelt v. Autodesk, No. 5:17-cv-1684-FMO, ECF No. 31, in the United
   4                States District Court for the Central District of California.
   5          18.   Exhibits 21, 22, and 23 are Mr. Coffelt’s Second Amended Complaint
   6                (Parts 1-3) against Autodesk alleging copyright infringement, filed on
   7                January 3, 2018 in Coffelt v. Autodesk, No. 5:17-cv-1684-FMO, ECF
   8                Nos. 35, 35-1, 35-2, in the United States District Court for the Central
   9                District of California.
 10           19.   Exhibit 24 is the Order re: Defendant’s Ex Parte Application issued by
 11                 Judge Olguin on April 25, 2018 in Coffelt v. Autodesk, No. 5:17-cv-
 12                 1684-FMO, ECF No. 64, in the United States District Court for the
 13                 Central District of California.
 14           20.   Exhibit 25 is the Order Dismissing Plaintiff’s Second Amended
 15                 Complaint with Prejudice issued by Judge Olguin on September 30,
 16                 2018 in Coffelt v. Autodesk, No. 5:17-cv-1684-FMO, ECF No. 69, in the
 17                 United States District Court for the Central District of California.
 18           21.   Exhibit 26 is the Order Denying Motion to Appeal in Forma Pauperis
 19                 issued by Judge Olguin on October 12, 2018 in Coffelt v. Autodesk,
 20                 No. 5:17-cv-1684-FMO, ECF No. 78, in the United States District
 21                 Court for the Central District of California.
 22           22.   Exhibit 27 is the Order Re: Pending Motions issued by Judge Olguin
 23                 on November 13, 2018 in Coffelt v. Autodesk, No. 5:17-cv-1684-FMO,
 24                 ECF No. 83, in the United States District Court for the Central District
 25                 of California.
 26           23.   Exhibit 28 is the Order re: Electronic Filing Privileges issued by Judge
 27                 Olguin on December 19, 2018 in Coffelt v. Autodesk, No. 5:17-cv-1684-
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   1                FMO, ECF No. 88, in the United States District Court for the Central
   2                District of California.
   3          24.   Exhibit 29 is the Order denying Mr. Coffelt’s writ of mandamus issued
   4                by the Ninth Circuit on March 13, 2019 in Coffelt v. United States
   5                District Court for the Central District of California, Riverside, et al.,
   6                No. 18-73235, ECF No. 4-1.
   7          25.   Exhibit 30 is the Order dismissing Mr. Coffelt’s appeal in Coffelt v.
   8                Autodesk, No. 18-56305, in the United States Court of Appeals for the
   9                Ninth Circuit.
 10           26.   Exhibit 34 is Mr. Coffelt’s Request to Proceed in Forma Pauperis,
 11                 which includes his Complaint against J. Clark and T. Baker, filed on
 12                 February 15, 2012 in Coffelt v. Clark et al., No. 5:12-cv-242-UA-
 13                 MRW, ECF No. 1, in the United States District Court for the Central
 14                 District of California.
 15           27.   Exhibit 35 is the February 29, 2012 Order striking Mr. Coffelt’s
 16                 request to proceed in forma pauperis and closing the case Coffelt v.
 17                 Clark et al., No. 5:12-cv-242-UA-MRW in the United States District
 18                 Court for the Central District of California.
 19           The exhibits listed above are appropriate subjects of judicial notice because
 20    the facts therein are not subject to reasonable dispute and are from sources whose
 21    accuracy cannot be reasonably be questioned. Fed. R. Evid. 201(b). The exhibits
 22    are filings and orders from prior actions initiated by Plaintiff Mr. Coffelt in this
 23    District. It is axiomatic that a court may take judicial notice of court orders and
 24    filings in related cases. See, e.g., Edward v. Obama, No. SACV 17-0792 JGB
 25    (KK), 2017 WL 3635180, at *2 n.1 (C.D. Cal. Aug. 23, 2017) (“Proceedings of
 26    other courts, including orders and filings, are [] the proper subject of judicial notice
 27    when directly related to the case.”).
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   1          B.    Copies of Webpages
   2          Autodesk further seeks judicial notice of the following copies of webpages:
   3          1.    Exhibit 31 is a copy of Github’s website for Sony Pictures Imageworks’
   4                Open Shading Language (“OSL”) code, specifically, the version of its
   5                “testshade.cpp” source code dated September 6, 2016, available at
   6                https://github.com/imageworks/OpenShadingLanguage/blob/2b1ebba6
   7                555eee55245f813f9004136f6b443948/src/testshade/testshade.cpp.
   8          2.    Exhibit 32 is a copy of Github’s website for Sony Pictures
   9                Imageworks’ OSL code, specifically, the version of its “testshade.cpp”
 10                 source code dated May 30, 2017, available at:
 11                 https://github.com/imageworks/OpenShadingLanguage/blob/d671d259
 12                 be056602ea85dabe29fd4c5fc3b0c64d/src/testshade/testshade.cpp.
 13           As with the court records above (Exhibits 1-30, and 34-35), the Court may
 14    take judicial notice of Exhibits 31 and 32 because they are capable of accurate and
 15    ready determination by resort to sources whose accuracy cannot reasonably be
 16    questioned. Fed. R. Evid. 201(b)(2). Exhibits 31 and 32 are copies of Github
 17    webpages that post Sony Imageworks’ OSL source code, specifically
 18    “testshade.cpp,” which Mr. Coffelt accuses of infringement. Both exhibits clearly
 19    show the dates of the posts (i.e., September 6, 2016 and May 30, 2017) and that
 20    they were available to the public at those times. The footers of Exhibits 31 and 32
 21    provide the precise web addresses where the source code is available. Thus,
 22    Exhibits 31 and 32 are capable of accurate and ready determination by simply
 23    accessing the specific Github web addresses.
 24           The accuracy of these webpages also cannot reasonably be questioned, as
 25    Mr. Coffelt himself relies on Github as the source of the code accused of infringing
 26    his alleged copyright. (See Compl. (ECF No. 1) at 3 (Table of Exhibits identifying
 27    Github as the source for at least Exhibits 105, 106, and 107 of Mr. Coffelt’s
 28    Complaint).) Judicial notice of Exhibits 31 and 32 is therefore appropriate. See,

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   1   e.g., Matthews v. Nat’l Football League Mgmt. Council, 688 F.3d 1107, 1113 (9th
   2   Cir. 2012) (granting request for judicial notice of website); Spy Optic, Inc. v.
   3   Alibaba.com, Inc., 163 F. Supp. 3d 755, 762 (C.D. Cal. 2015) (granting request
   4   for judicial notice of web pages on defendant’s website); Nelson Bros. Prof’l Real
   5   Estate LLC v. Jaussi, No. SACV 17-0158-DOC (JCGx), 2017 WL 8220703, at *3-
   6   4 (C.D. Cal. Mar. 23, 2017) (taking judicial notice of webpage printout).
   7          C.      Dictionary Definition
   8          Finally, Autodesk seeks judicial notice of the dictionary definition of “nest”:
   9          1.      Exhibit 33 is a copy of an excerpt from the IBM Dictionary of
 10                   Computing (3d ed. 1994) which includes the definition of “nest” on
 11                   page 452. “Nest” is defined in part as “[t]o incorporate one or more
 12                   structures of one kind into a structure of the same kind; for example, to
 13                   nest one loop (the nested or inner loop) within another loop (the nesting
 14                   or outer loop).”
 15           “A dictionary is a source whose accuracy cannot reasonably be questioned
 16    and therefore courts can consult dictionaries at any stage of litigation to determine
 17    the meaning of words and phrases.” Commercial Copy Innovations, Inc. v. Ricoh
 18    Elecs., Inc., No. SACV 17-437-JVS (KESX), 2017 WL 7838719, at *3 (C.D. Cal.
 19    Oct. 16, 2017). Therefore, “a dictionary definition is the proper subject of judicial
 20    notice,” and the Court may consider the definition of “nest” cited by Autodesk in
 21    deciding the motion to dismiss. Id.
 22    II.    CONCLUSION
 23           Accordingly, Autodesk requests that the Court take judicial notice of
 24    attached Exhibits 1-35.
 25    Dated:       September 6, 2019           By:      /s/ Richard S.J. Hung
 26                                                    MORRISON & FOERSTER LLP
                                                       Attorneys for Defendants
 27                                                    AUTODESK, INC., ANDREW ANAGNOST,
                                                       AND PASCAL DI FRONZO
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